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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA

Defendant

ABINGDON DIVISION
UNITED STATES OF AMERICA, )
Vs: Case #: 1:18 CR00025-005
ANDREA NICOLE STICKEL )
)
)

RESPONSE TO GOVERNMENT?’S RULE 35(b) MOTION

COMES NOW the Defendant, Andrea Nicole Stickel, by counsel and files this
Response to the Motion pursuant to Federal Rule of Criminal Procedure 35(b) filed by the
government for reduction of the defendant’s sentence as follows:

The defendant appreciates and embraces the Motion filed by the government to recognize
her substantial assistance to the government. The memorandum filed by the government
accurately sets forth the assistance Andrea Nicole Stickel did give the government. We do
emphasize the timeliness of her cooperation. She met with investigative authorities in September
of 2018 prior to her indictment in this Court. She was a great assistance to authorities in
Tennessee and Virginia and in fact testified before the Grand Jury of this Court.

We understand the Court will also consider all other relevant sentencing factors. Rather
than merely restate arguments previously made on her behalf, | would refer the Court to our
sentencing memorandum and addendum to the sentencing memorandum previously filed herein.
We would however emphasize Andrea’s personal history and the “living hell” in which she was
raised.

Further, as previously argued, Andrea’s criminal history as calculated by the guidelines,
overstates the true nature and seriousness of her relatively minor criminal past. The details are
fully set forth in her pre-sentence report and her sentencing memorandum. We asked the Court

to consider all these matters in determining an appropriate reduction in sentence.
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BY:

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CERTIFICATE

I hereby certify that I have electronically filed the Defendant’s Response to the
Government’s Rule 35(b) Motion with the Clerk of the Court using the CM/ECF system which
will send notification of such filings and send a copy of such filing to the Assistance United States
Attorney for the Western District of Virginia, or other prosecutor, who is responsible for the
handling of this case on this the | day of April, 2020.

/s/ Gregory M. Stewart
COUNSEL FOR DEFENDANT
